 8:05-cr-00106-JFB-TDT           Doc # 60   Filed: 06/20/05   Page 1 of 1 - Page ID # 211




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )                  8:05CR106
                                             )
             v.                              )
                                             )
MARIANO CORDERO-JUAREZ,                      )                    ORDER
                                             )
                    Defendants.              )
                                             )


      Before the court is the report and recommendation of United States Magistrate
Judge Thomas D. Thalken, Filing No. 58, and transcript of the hearing held on May 23,
2005. No objection has been filed to the report and recommendation. Pursuant to
NECrimR 57.3 and 28 U.S.C. § 636(b)(1)(C), the court has conducted a de novo review
of the record and adopts the report and recommendation in its entirety.
      THEREFORE, IT IS HEREBY ORDERED that:
      1.     The report and recommendation, Filing No. 58, is adopted in its entirety;
      2.     The defendant’s motion to dismiss the indictment as to this defendant,
             Filing No. 49, is granted.
      DATED this 20th day of June, 2005.

                                            BY THE COURT:



                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            United States District Judge
